Case: 4:21-cv-01326-MTS Doc. #: 1 Filed: 11/09/21 Page: 1 of 8 PagelD #: 1

9D
ok
® 9 qa ‘ UNITED STATES DISTRICT COURT
OT BW EASTERN DISTRICT OF MISSOURI
SAC! DIVISION
w Sean ror”
_

Plaintiffs), PEREX DL Ooks

¥.

athars

DEprebeen t of VETRAUS: OOP
St Low's VA Health CAE System
John CocheAs! Divisianl
Sftoayis ANo CFo/u

Defendant(s). (Enter above the full name(s)

of all defendants in this lawsuit. Please

attach additional sheets if necessary.)

Case No.
{to be assigned by Clerk of District Court)

JURY TRIAL DEMANDED

yes! NoL__

EMPLOYMENT DISCRIMINATION COMPLAINT

 

Ns This employment discrimination lawsuit is based on (check only those that apply):

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., for
employment discrimination on the basis of race, color, religion, gender, or national origin.
NOTE: Jn order to bring suit in federal district court under Title VII, you must first obtain
a right-to-sue letter fram the Equal Employment Opportunity Commission.

Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq., for
employment discrimination on the basis of age (age 40 or older).

NOTE: Jn order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file charges with the Equal Employment Opportunity
Commission.

Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, ef seq.,
for employment discrimination on the basis of disability.

NOTE: In order to bring suit in federal district court under the Americans with
Disabilities Act, you must first obtain a right-to-sue letter from the Equal Employment
Opportunity Commission.
Case: 4:21-cv-01326-MTS Doc. # 1 Filed: 11/09/21 Page: 2 of 8 PagelD #: 2

Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, ef seq., for employment
discrimination on the basis of a disability by an employer which constitutes a program or
activity receiving federal financial assistance.

NOTE: in order to bring suit in federal district court under the Rehabilitation Act of 1973,
you must first file charges with the appropriate Equal Employment Office representative or
agency.

Other (Describe)

PARTIES
3: Plaintiff's name: LELEY phookS

PlaintifPsaddress: 2/7 /S CENTER sv Apt ce

Street address or P.O. Box

GRAN SE City. Jl 622¥D

City/ County/ State/Zip Code

J3lh ~F 55 -22YO6

Area code and telephone number
\
3. Defendant’s name: SCC RZ rey DE pret emt of Vetehans AL fae
Defendant’s address: 1s Kw Orth Graal gf bs / VD

Street address or P.O, Box

ST Zauis fo 63/0.

City/County/State/ Zip Code
/~3IF -b52 —Y/2O

Area code and telephone number

 

NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
PROVIDE THEIR NAMES, ADDRESSES AND TELEPHONE NUMBERS ON A
SEPARATE SHEET OF PAPER.
Case: 4:21-cv-01326-MTS Doc. #: 1 Filed: 11/09/21 Page: 3 of 8 PagelD #: 3

4, If you are claiming that the discriminatory conduct occurred at a different location,
please provide the following information:
Qs Nort Greavt Biri! 87 Law's Mo G63/0b
(Street Address) (City/County) (State) (Zip Code)

3 When did the discrimination occur? Please give the date or time period:

CYL f/4 ZO

ADMINISTRATIVE PROCEDURES
6. Did you file a charge of discrimination against the defendant(s) with the Missouri

Commission on Human Rights?
| _Yes Date filed:
17 _No

ae Did you file a charge of discrimination against the defendant(s) with the Equal

 

Employment Opportunity Commission or other federal agency?

“Yes Date filed: 2-A3-2 6] &

[No

8. Have you received a Notice of Right-to-Sue Letter?

ves xe

If yes, please attach a copy of the letter to this complaint.

 

9. If you are claiming age discrimination, check one of the following:

____60 days or more have passed since I filed my charge of age discrimination with the
Equal Employment Opportunity Commission.

_____ fewer than 60 days have passed since ! filed my charge of age discrimination with the

Equal Employment Opportunity Commission.
Case: 4:21-cv-01326-MTS Doc. #: 1 Filed: 11/09/21 Page: 4 of 8 PagelD # 4

NATURE OF THE CASE
10. The conduct complained of in this lawsuit involves (check only those that apply):
failure to hire me

Pag

ae ‘etilkatio of my employment

___.. failure to promote me

___.. failure to accommodate my disability

__— terms and conditions ofmy employment differ from those of similar employees
_ tg retaliation

> harassment

other conduct (specify):

Lieb t

Did you complain about this same conduct in your charge of discrimination?

Ee steal No
Case: 4:21-cv-01326-MTS Doc. #: 1 Filed: 11/09/21 Page: 5 of 8 PagelD #: 5

I]. I believe that I was discriminated against because of my (check all that apply):

a

race

religion
national origin
color

pender

disability
age (birth year is: j

other:

Did you state the same reason(s) in your charge of discrimination?
| “Yes | _ No

12. State here, as briefly and clearly as possible, the essential facts of your claim.
Describe specifically the conduct that you believe is discriminatory and describe how each defendant
is involved in the conduct. Take time to organize your statement; you may use numbered paragraphs
if you find it helpful. It is not necessary to make legal arguments, or to cite cases or statutes.

Defamation of chaactEer
be Bopedaaoe. ciaim it was evée HEARD me DERE~ eee

ments fea
Call ay fy a profound MAME, T hav Ee PT aEeEe

for wonleee_s SAY (FG rere é

r , fe
any phing HkE spettcally Fe tl Be RO
SUPERV! $02 Aame «Ss pmarrehea each,

. Pec drt
Micheal Bocle rs Krew ton fag cdeag Aver

FAnER? aa S {8 late ) ow JA FO Bei gs micheal B feck cand
rt wad ovee heaecl Me call him atnggod’

(Continue to page 6, if additional space is needed.)

Reg ATTSOW, Te statements oF Wit HESU
5
Case: 4:21-cv-01326-MTS Doc-#-4 Filed: 11/09/21 Page: 6 of 8 PagelD #: 6

Bro Oot 14 ole.
i. D me perce Brooks was Acsatiled Ay Sopenvicae

tep WAliC er

A.y was lik ia 44e ee

was  ,ACTA fut

7, Attia. you ahenar L
hep tte. ae eg iy, eriter
lez d OL 6 ae Jha Sept

oe PTS, my Beay Ensh

bb whtree

4 VIS ave

F. gtill WOoA
A- X wr BRovley hav
CAmc from tA o writ! ue hee a:
Bint hee as or er ic

bes er ogi ea:
2 Manag Ent never Sé6r Li

Wa\f[Ek
me Leon tha L Ones barn Ee ALona— Ted

Soper vi 50a

ee ey ee dL mertA | Bate

he ses noes ~ val Hostile
TL was Lor ciel qo we
pas vo men y

e. Also afte rR Oct rp. 10/% : IN Crem | MEAs Ement

(Attach additional sheets as necessary).

Vidlared 4+he ma tte agreemmt auob Va poleres
SEE. Ptr Achec/: 6
Case: 4:21-cv-01326-MTS Doc. #: 1 Filed: 11/09/21 Page: 7 of 8 PagelD #: 7

13. The acts set forth in paragraph 12 of this complaint:
are still being committed by the defendant.
| __ are no longer being committed by the defendant.

| _. may still be being committed by the defendant.

REQUEST FOR RELIEF
State briefly and exactly what you want the Court to do for you. Make no legal arguments;

cite no cases or statutes.
t DEREK Brooks weld IWkE the Court te

1. Grek amy geb bacle
22wwldiykhe te sencads whofe

3. AMA +o bbhtAn/ a// menétAny $4 ke
AAs b€€n/ Jost
“ To poy back Gif fu (ifa RY PALE

14. Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of

my knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the requirements
of Rule

pee ee
Case: 4:21-cv-01326-MTS Doc. #: 1 Filed: 11/09/21 Page: 8 of 8 PagelD #: 8

I agree to provide the Clerk’s Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with the Clerk’s
Office may result in the dismissal of my case.

I declare under penalty of perjury that the foregoing is true and correct.

Signed this /  dayof AM@4empbere _, 207 _.

Signature of Plaintiff See sig Pitt’

 
